Case 2:17-cv-09035-CCC-MF Document 37 Filed 07/20/18 Page 1 of 1 PageID: 97




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY




 ROBERT PEZZOLLA,                                       Civil Action No. 17-9035 (CCC)

                              Plaintiff,
 v.

 DAVID SANDERS, et al.,                                             ORDER

                             Defendants.



       IT IS on this 20th day of July, 2018

       ORDERED that there shall be an in-person conference before the Undersigned on
September 11, 2018 at 10:30 a.m. at the U.S. Post Office and Courthouse, 1 Federal Square, Fourth
Floor, Courtroom 9, Newark, New Jersey.



                                                      /s/ Mark Falk
                                                    MARK FALK
                                                    United States Magistrate Judge
